              Case 6:19-bk-05385-CCJ       Doc 12      Filed 09/10/19    Page 1 of 21



                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In re:                                                          CASE NO: 6:19-bk-05385-CCJ
                                                                CHAPTER 13
KURT ALLEN STRATHMAN
SHERRY SUE WARD-STRATHMAN

DEBTOR(S)
__________________________________________/

  FIFTH THIRD BANK SUCCESSOR BY MERGER TO FIFTH THIRD MORTGAGE
      COMPANY'S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
             (Re: 643 Silver Creek Drive, Winter Springs, FL 32708)


              NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this the relief request in this paper
without further notice or hearing unless a party in interest files a response within 21 days
from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801, and serve a copy on
the movant’s attorney, Patrick Hruby, Esq., at Brock & Scott, PLLC, 2001 Northwest 64th
Street, Suite 130 Fort Lauderdale, FL 33309, and any other appropriate persons within the
time allowed.

If you file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing, or consider the response and grant or deny the relief requested
without a hearing. If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief requested in the paper, will proceed to consider
the paper without further notice or hearing, and may grant the relief requested.




         Fifth Third Bank Successor by merger to Fifth Third Mortgage Company ("Secured

Creditor"), its successors and assigns, files this Motion for Relief from the Automatic Stay, and in

support thereof states as follows:

         1.     The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R.


B&S File No. 18-F01826                        1 of 5
             Case 6:19-bk-05385-CCJ          Doc 12      Filed 09/10/19     Page 2 of 21



Bankr. P. 4001(a) and the various other applicable provisions of the United States Bankruptcy

Code, Federal Rules of Bankruptcy Procedure and the laws of the United States of America.

        2.      The Debtor filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code

on August 15, 2019.

        3.      Secured Creditor holds a security interest in the Debtor’s real property located at

643 Silver Creek Drive, Winter Springs, FL 32708 (the “Property”), by virtue of a Mortgage which

was recorded on March 12, 2014, in Official Records Book 8232, at Page 145, of the Public

Records of Seminole County, Florida (the “Mortgage”). The Mortgage secures a Note in the

amount of $233,900.00 (the “Note”). A copy of the Mortgage, together with the Note and

Assignments, as applicable, is attached hereto as Exhibit A.

        4.      The Mortgage gives Secured Creditor a lien on the Property, which is legally

described as:

        All that certain lot or parcel of land situate in the County of Seminole, State of Florida,
        and being more particularly described as follows:

        Lot(s) 5, North Orlando Ranches, Section 2A, according to the plat thereof, recorded
        in Plat Book 12, Page(s) 40 of the Public Records of Seminole County, Florida

        BEING property which, by Deed dated November 15, 2005, and recorded among the
        Land Records of the County of Seminole, State of Florida, in Liber No. 6047, folio
        139, was granted and conveyed by David Behbood unto Kurt Strathman and Sherry
        Strathman.

        5.      As of August 20, 2019, the Debtor is indebted to Secured Creditor in the amount of

$260,878.83 principal balance, with interest accruing, plus other fees and costs advanced by

Secured Creditor pursuant to the loan documents. Post-Petition payments have been in default

since March1, 2018.

        6.      According to the Schedule A, the value of the Property is $270,110.00 Therefore,

there is little or no equity in the Property for the benefit of unsecured creditors of the estate.

B&S File No. 18-F01826                          2 of 5
             Case 6:19-bk-05385-CCJ          Doc 12       Filed 09/10/19   Page 3 of 21



       7.        Secured Creditor's interest in the Property is being significantly jeopardized by the

Debtor's failure to make regular mortgage payments while Secured Creditor is prohibited from

pursuing its lawful remedies to protect such interest. Thus, the Debtor has failed to adequately

protect the interest of Secured Creditor.

       8.        Therefore, Secured Creditor maintains that cause exists pursuant to 11 U.S.C. §

362(d)(1) for the automatic stay to be lifted.

       9.        Pursuant to 11 U.S.C. § 362(e), Secured Creditor requests that, in the event a

hearing is necessary, said hearing be held within thirty (30) days.

       10.       Secured Creditor request that the Court waive the fourteen (14) day stay set forth

in Bankruptcy Rule 4001(a)(3), so that Secured Creditor can pursue its in rem remedies without

further delay.

       11.       Secured Creditor requests that any communication by Secured Creditor in

connection with proceeding against the Property including, but not limited to, notices required by

state law and communications to offer and provide information with regard to a potential

forbearance agreement, loan modification, refinance agreement, loss mitigation agreement or other

loan workout, may be sent directly to the Debtor.

       12.       Secured Creditor has incurred attorneys’ fees of $750.00 and costs of $181.00 as a

result of the necessity of filing this Motion. Said fees and costs are recoverable as part of the debt

pursuant to the loan documents but shall not be a personal liability of the Debtor.

       13.       Secured Creditor requests that the Court waive the notice requirements of

Bankruptcy Rule 3002.1 as to Secured Creditor and the Trustee.

        WHEREFORE, Secured Creditor respectfully requests that the automatic stay be lifted

so that Secured Creditor may be permitted to protect its security interest in the Property outside



B&S File No. 18-F01826                           3 of 5
             Case 6:19-bk-05385-CCJ        Doc 12      Filed 09/10/19    Page 4 of 21



the bankruptcy forum; that in the event a hearing is necessary, said hearing be held within thirty

(30) days; that the 14 day stay be waived under Rule 4001(a)(3); that Secured Creditor be permitted

to contact the Debtor for the reasons stated; that Secured Creditor be awarded in rem Attorneys’

fees and cost; that the Court waive the notice requirements of Bankruptcy Rule 3002.1 as to

Secured Creditor and the Trustee; and such other and further relief as the Court may deem just and

proper.

                                             BROCK & SCOTT, PLLC
                                             Attorney for Secured Creditor
                                             2001 Northwest 64th Street, Suite 130
                                             Fort Lauderdale, FL 33309
                                             Phone: 813-342-2200
                                             Fax: 954-618-6954
                                             Floridabklegal@Brockandscott.com

                                             /s/ Patrick Hruby
                                             ______________________________________
                                             PATRICK HRUBY, ESQUIRE
                                             Florida Bar No. 0088657


          I HEREBY CERTIFY that a true copy hereof has been served via U.S. mail, first-class

postage prepaid, to:

          Debtor
          Kurt Allen Strathman
          643 Silver Creek Drive
          Winter Springs, FL 32708

          Joint Debtor
          Sherry Sue Ward-Strathman
          643 Silver Creek Drive
          Winter Springs, FL 32708


          I HEREBY CERTIFY that a true copy hereof has been served electronically to:


          Debtor’s Counsel
          Jeffrey S Badgley

B&S File No. 18-F01826                        4 of 5
           Case 6:19-bk-05385-CCJ           Doc 12      Filed 09/10/19   Page 5 of 21



       801 N. Magnolia Avenue
       Suite 107
       Orlando, FL 32803

       Trustee
       Emerson C Noble
       Post Office Box 622798
       Oviedo, FL 32762-2798

       U.S. Trustee
       United States Trustee - ORL7/13
       Office of the United States Trustee
       George C Young Federal Building
       400 West Washington Street, Suite 1100
       Orlando, FL 32801


                         this 10th day of September, 2019.



                                              BROCK & SCOTT, PLLC
                                              Attorney for Secured Creditor
                                              2001 Northwest 64th Street, Suite 130
                                              Fort Lauderdale, FL 33309
                                              Phone: 813-342-2200
                                              Fax: 954-618-6954
                                              Floridabklegal@Brockandscott.com

                                              /s/ Patrick Hruby

                                              PATRICK HRUBY, ESQUIRE
                                              Florida Bar No. 0088657




B&S File No. 18-F01826                         5 of 5
Exhibit A   Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 6 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 7 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 8 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 9 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 10 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 11 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 12 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 13 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 14 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 15 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 16 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 17 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 18 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 19 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 20 of 21
Case 6:19-bk-05385-CCJ   Doc 12   Filed 09/10/19   Page 21 of 21
